411 F.2d 610
    UNITED STATES of America, Appellee,v.Igor Boris MESTCHERSKY, a/k/a Igor Maistrenko, Igor Bedetsky, Prince Igor Mestchersky, Appellant.
    No. 679.
    Docket 33426.
    United States Court of Appeals Second Circuit.
    Argued May 21, 1969.
    Decided May 23, 1969.
    
      Peter F. Rient, Asst. U. S. Atty. (Robert M. Morgenthau, U. S. Atty. for the Southern District of New York, John R. Wing and Douglas S. Liebhafsky, Asst. U. S. Attys., on the brief), for appellee.
      Peter L. F. Sabbatino, New York City (Sabbatino &amp; Todarelli, and Henry J. Boitel, New York City, on the brief), for appellant.
      Before LUMBARD, Chief Judge, and FEINBERG, Circuit Judge, and TIMBERS, District Judge.*
      PER CURIAM:
    
    
      1
      We affirm the judgment of conviction entered in the Southern District of New York, upon a jury verdict, for making false statements to the Immigration and Naturalization Service in violation of 18 U.S.C. § 1001.
    
    
      2
      Appellant was given a fair trial; there was abundant evidence to support the verdict. Evidence as to appellant's dealings with Morris Moche was properly admitted, as bearing on the motive for the allegedly false statement that certain papers had been lost. Moreover, except for one answer, no objection was made to any of this evidence. It is apparent from the record that this was part of the defense strategy, as it furnished a basis for attacking the credibility and bias of Moche, who was the principal prosecution witness.
    
    
      3
      Nor was there any improper prejudice to the defendant in the few questions which the trial judge put to him.
    
    
      4
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Sitting by designation
      
    
    